            Case 2:05-cr-00334-RSL     Document 156      Filed 05/25/06      Page 1 of 1



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                                 UNITED STATES DISTRICT COURT
 5                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 6
 7   UNITED STATES OF AMERICA,

 8                 Plaintiff,                            Case No. CR05-334RSL

 9           v.                                          ORDER ON MOTION FOR PRETRIAL
                                                         DISCLOSURE OF CONFIDENTIAL
10   RAJINDER JOHAL, et al.,                             INFORMANTS IDENTITY & TO
                                                         COMPEL PRODUCTION OF
11                 Defendants.                           PERTINENT DISCOVERY
                                                         MATERIALS
12
13          This matter comes before the Court on “Defendant Johal’s Motion for Pretrial Disclosure

14 of Confidential Informant’s Identity & to Compel Production of Pertinent Discovery Materials”
15 (Dkt. # 135). The Court has considered this motion and the government’s response and finds
16 that the government recognizes its obligations in this area. The Court orders the government to
17 comply with defendant’s request by orally identifying the informants and timely providing
18 impeachment information about these informants. In addition, if necessary, the government will
19 assist in making such witnesses available at trial. The motion is GRANTED to the extent of this
20 order.
21
            DATED this 24th day of May, 2006.
22
23
24
                                                    A
                                                    Robert S. Lasnik
                                                    United States District Judge
25
26   ORDER ON MOTION FOR PRETRIAL
     DISCLOSURE OF CONFIDENTIAL
     INFORMANTS IDENTITY & TO COMPEL
     PRODUCTION OF PERTINENT
     DISCOVERY MATERIALS
